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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------X
  IYANNA DAVIS
                                                                            DOCKET NO.: 11-CV-0076
                                              Plaintiff,

                   -against-

  COUNTY OF NASSAU, NASSAU COUNTY
                                                                            PROPOSED AMENDED
  POLICE OFFICER MICHAEL CAPOBIANCO,
                                                                            COMPLAINT
  Serial #6971, SGT HERMANN, POLICE OFFICER
  CARL CAMPBELL, POLICE OFFICER DWIGHT
  BLANKENSHIP, POLICE OFFICER JOSEPH
  GRELLA, POLICE OFFICER JOHN DOES #1-5,
  NASSAU COUNTY DISTRICT ATTORNEY’S
  OFFICE INVESTIGATOR JOHN DOES #1-5,
  NASSAU COUNTYASSISTANT DISTRICT
                                                                            JURY TRIAL
  ATTORNEY JOHN DOES #1-5.

                                               Defendants.
  ----------------------------------------------------------------------X


                                         NATURE OF THE ACTION

          1.       This is an action for deprivation of Plaintiff’s civil rights, committed by the

  Defendants while acting in concert and under color of state law, and of Plaintiff’s rights,

  liberties, and immunities as guaranteed to her by reason of the Fourth and Fourteenth

  Amendments to the United States Constitution. This Court is authorized to grant the Plaintiff

  relief under 42 U.S.C. §§1983 and 1988.

                                                JURISDICTION

          2.       Jurisdiction in this matter is invoked in accordance with 28 U.S.C. §1331 and 28

  U.S.C. §1367. Plaintiff further invokes the supplemental jurisdiction of the Court to hear and

  decide claims arising out of the pendant state claims pursuant to 28 U.S.C. § 1376(a).

                                                      VENUE



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          3.    Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §

  1391(b) since all of the events and omissions giving rise to the Plaintiff’s claims occurred within

  Nassau; the actual place of employment of all of the individual Police Officers, District Attorney,

  and District Attorney’s Office Investigators is Nassau County in the Eastern District of New

  York, and the County of Nassau is within the jurisdiction of the Eastern District of New York.

  The events surrounding this lawsuit occurred in Nassau County, in the Eastern District of New

  York. Additionally, Plaintiff resides within the County of Nassau in the Eastern District of New

  York.

                                           THE PARTIES

          4.    The Plaintiff, IYANNA DAVIS (hereinafter referred to as “DAVIS”) is a resident

  of the United States who lives within the Eastern District of New York.

          5.    Upon information and belief, at all relevant times described herein, the Defendant,

  THE COUNTY OF NASSAU (hereinafter referred to as “NASSAU”) was and continues to be a

  municipal corporation organized and existing by virtue of the laws of the State of New York.

          6.    Upon information and belief., at all relevant times described herein, Defendant,

  NASSAU, by its agents and/or employees operated, maintained and controlled the Nassau

  County Police Department, including all officers thereof.

          7.    Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER MICHAEL CAPOBIANCO (hereinafter referred to as “CAPOBIANCO”), is

  an individual and employee of the County of Nassau with an actual place of employment within

  the County of Nassau, State of New York.

          8.    Upon information and belief, at all relevant times described herein, the Defendant

  POLICE SERGEANT HERMANN (hereinafter referred to as “HERMANN”), is an individual



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  and employee of the County of Nassau with an actual place of employment within the County of

  Nassau, State of New York.

         9.    Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER CARL CAMPBELL (hereinafter referred to as “CAMPBELL”), is an

  individual and employee of the County of Nassau with an actual place of employment within the

  County of Nassau, State of New York.

         10.   Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER DWIGHT BLANKENSHIP (hereinafter referred to as “BLANKENSHIP”),

  is an individual and employee of the County of Nassau with an actual place of employment

  within the County of Nassau, State of New York.

         11.   Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER JOSEPH GRELLA (hereinafter referred to as “GRELLA”), is an individual

  and employee of the County of Nassau with an actual place of employment within the County of

  Nassau, State of New York.

         12.   Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER JOHN DOE #1 (hereinafter referred to as “P.O. DOE #1”), is an individual

  and employee of the County of Nassau with an actual place of employment within the County of

  Nassau, State of New York.

         13.   Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER JOHN DOE #2 (hereinafter referred to as “P.O. DOE #2”), is an individual

  and employee of the County of Nassau with an actual place of employment within the County of

  Nassau, State of New York.

         14.   Upon information and belief, at all relevant times described herein, the Defendant



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  POLICE OFFICER JOHN DOE #3 (hereinafter referred to as “P.O. DOE #3”), is an individual

  and employee of the County of Nassau with an actual place of employment within the County of

  Nassau, State of New York.

         15.   Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER JOHN DOE #4 (hereinafter referred to as “P.O. DOE #4”), is an individual

  and employee of the County of Nassau with an actual place of employment within the County of

  Nassau, State of New York.

         16.   Upon information and belief, at all relevant times described herein, the Defendant

  POLICE OFFICER JOHN DOE #5 (hereinafter referred to as “P.O. DOE #5”), is an individual

  and employee of the County of Nassau with an actual place of employment within the County of

  Nassau, State of New York.

         17.   Upon information and belief, at all relevant times described herein, the Defendant

  DISTRICT ATTORNEY’S OFFICE INVESTIGATOR JOHN DOE #1 (hereinafter referred to

  as “DAOI DOE #1”), is an individual and employee of the County of Nassau with an actual

  place of employment within the County of Nassau, State of New York.

         18.   Upon information and belief, at all relevant times described herein, the Defendant

  DISTRICT ATTORNEY’S OFFICE INVESTIGATOR JOHN DOE #2 (hereinafter referred to

  as “DAOI DOE #2”), is an individual and employee of the County of Nassau with an actual

  place of employment within the County of Nassau, State of New York.

         19.   Upon information and belief, at all relevant times described herein, the Defendant

  DISTRICT ATTORNEY’S OFFICE INSVESTIGATOR JOHN DOE #3 (hereinafter referred to

  as “DAOI DOE #3”), is an individual and employee of the County of Nassau with an actual

  place of employment within the County of Nassau, State of New York.



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         20.    Upon information and belief, at all relevant times described herein, the Defendant

  DISTRICT ATTORNEY’S OFFICE INVESTIGATOR JOHN DOE #4 (hereinafter referred to

  as “DAOI DOE #4”), is an individual and employee of the County of Nassau with an actual

  place of employment within the County of Nassau, State of New York.

         21.    Upon information and belief, at all relevant times described herein, the Defendant

  DISTRICT ATTORNEY’S OFFICE INVESTIGATOR JOHN DOE #5 (hereinafter referred to

  as “DAOI DOE #5”), is an individual and employee of the County of Nassau with an actual

  place of employment within the County of Nassau, State of New York.

         22.    Upon information and belief, at all relevant times described herein, the Defendant

  ASSISTANT DISTRICT ATTORNEY JOHN DOE #1 (hereinafter referred to as “ADA DOE

  #1”), is an individual and employee of the County of Nassau with an actual place of employment

  within the County of Nassau, State of New York.

         23.    Upon information and belief, at all relevant times described herein, the Defendant

  ASSISTANT DISTRICT ATTORNEY JOHN DOE #1 (hereinafter referred to as “ADA DOE

  #1”), is an individual and employee of the County of Nassau with an actual place of employment

  within the County of Nassau, State of New York.

         24.    Upon information and belief, at all relevant times described herein, the Defendant

  ASSISTANT DISTRICT ATTORNEY JOHN DOE #2 (hereinafter referred to as “ADA DOE

  #2”), is an individual and employee of the County of Nassau with an actual place of employment

  within the County of Nassau, State of New York.

         25.    Upon information and belief, at all relevant times described herein, the Defendant

  ASSISTANT DISTRICT ATTORNEY JOHN DOE #3 (hereinafter referred to as “ADA DOE

  #3”), is an individual and employee of the County of Nassau with an actual place of employment



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  within the County of Nassau, State of New York.

         26.    Upon information and belief, at all relevant times described herein, the Defendant

  ASSISTANT DISTRICT ATTORNEY JOHN DOE #4 (hereinafter referred to as “ADA DOE

  #4”), is an individual and employee of the County of Nassau with an actual place of employment

  within the County of Nassau, State of New York.

         27.    Upon information and belief, at all relevant times described herein, the Defendant

  ASSISTANT DISTRICT ATTORNEY JOHN DOE #5 (hereinafter referred to as “ADA DOE

  #5”), is an individual and employee of the County of Nassau with an actual place of employment

  within the County of Nassau, State of New York.

         28.    Upon information and belief, at all relevant times described herein, Defendant

  CAPOBIANCO was acting within the scope of his employment as a Nassau County Police

  Officer.

         29.    Upon information and belief, at all relevant times described herein, Defendant

  HERMANN was acting within the scope of his employment as a Nassau County Police Officer.

         30.    Upon information and belief, at all relevant times described herein, Defendant

  CAMPBELL was acting within the scope of his employment as a Nassau County Police Officer.

         31.    Upon information and belief, at all relevant times described herein, Defendant

  BLANKENSHIP was acting within the scope of his employment as a Nassau County Police

  Officer.

         32.    Upon information and belief, at all relevant times described herein, Defendant

  GRELLA was acting within the scope of his employment as a Nassau County Police Officer.



         33.    Upon information and belief, at all relevant times described herein, Defendant



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  P.O. DOE #1 was acting within the scope of his employment as a Nassau County Police Officer.

         34.    Upon information and belief, at all relevant times described herein, Defendant

  P.O. DOE #2 was acting within the scope of his employment as a Nassau County Police Officer.

         35.    Upon information and belief, at all relevant times described herein, Defendant

  P.O. DOE #3 was acting within the scope of his employment as a Nassau County Police Officer.

         36.    Upon information and belief, at all relevant times described herein, Defendant

  P.O. DOE #4 was acting within the scope of his employment as a Nassau County Police Officer.

         37.    Upon information and belief, at all relevant times described herein, Defendant

  P.O. DOE #5 was acting within the scope of his employment as a Nassau County Police Officer.

         38.    Upon information and belief, at all relevant times described herein, Defendant

  DAOI DOE #1 was acting within the scope of his employment as an Investigator for the Nassau

  County District Attorney’s Office.

         39.    Upon information and belief, at all relevant times described herein, Defendant

  DAOI DOE #2 was acting within the scope of his employment as an Investigator for the Nassau

  County District Attorney’s Office.

         40.    Upon information and belief, at all relevant times described herein, Defendant

  DAOI DOE #3 was acting within the scope of his employment as an Investigator for the Nassau

  County District Attorney’s Office.

         41.    Upon information and belief, at all relevant times described herein, Defendant

  DAOI DOE #4 was acting within the scope of his employment as an Investigator for the Nassau

  County District Attorney’s Office.

         42.    Upon information and belief, at all relevant times described herein, Defendant

  DAOI DOE #5 was acting within the scope of his employment as an Investigator for the Nassau



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  County District Attorney’s Office.

         43.    Upon information and belief, at all relevant times described herein, Defendant

  ADA DOE #1 was acting within the scope of his employment with the Nassau County District

  Attorney’s Office.

         44.    Upon information and belief, at all relevant times described herein, Defendant

  ADA DOE #2 was acting within the scope of his employment with the Nassau County District

  Attorney’s Office.

         45.    Upon information and belief, at all relevant times described herein, Defendant

  ADA DOE #3 was acting within the scope of his employment with the Nassau County District

  Attorney’s Office.

         46.    Upon information and belief, at all relevant times described herein, Defendant

  ADA DOE #4 was acting within the scope of his employment with the Nassau County District

  Attorney’s Office.

         47.    Upon information and belief, at all relevant times described herein, Defendant

  ADA DOE #5 was acting within the scope of his employment with the Nassau County District

  Attorney’s Office.

                                   FACTUAL ALLEGATIONS

         48.    DAVIS was shot by Nassau County Police Officer(s) on May 13, 2010 at her

  residence located on the second floor of 31 Lafayette Avenue, Hempstead, New York.

         49.    On May 13, 2010, in the early morning hours, Nassau County Police Officers

  and/or Investigators from the Nassau County District Attorney’s Office presented at Ms. Davis'

  residence.

         50.    On May 13, 2010, in the early morning hours, Nassau County Police Officers of



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  the Special Operations Unit presented at Ms. Davis' residence.

         51.     On May 13, 2010, the Nassau County Police Officers and/or Investigators from

  the Nassau County District Attorney’s Office entered the residence of Ms. Davis without a

  search warrant.

         52.     On May 13, 2010, the Nassau County Police Officers executed a warrant pursuant

  to a Nassau County Police Investigation.

         53.     On May 13, 2010, the Nassau County Police Officers executed a warrant on

  behalf of the Nassau County District Attorney’s Office.

         54.     On May 13, 2010, the warrant executed by the Nassau County Police Officers

  and/or Nassau County District Attorney’s Office Investigators specified the area in which the

  Nassau County Police Officers were permitted to search.

         55.     On May 13, 2010, the warrant executed by the Nassau County Police Officers

  and/or Nassau County District Attorney’s Office Investigators specified a search of the first floor

  of the residence.

         56.     31 Lafayette Avenue in Hempstead, New York is a two family dwelling.

         57.     There is a separate back door entrance for the second floor apartment located at

  31 Lafayette Avenue, Hempstead, New York.

         58.     There is an exterior locking mechanism on the door leading up to the second floor

  of 31 Lafayette Avenue, Hempstead, New York.

         59.     The warrant executed by the Nassau County Police Department and/or Nassau

  County District Attorney’s Office Investigators did not authorize entrance into the second floor

  of 31 Lafayette Avenue, Hempstead, New York.

         60.     The warrant executed by the Nassau County Police Department and/or Nassau



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   County District Attorney’s Office Investigators contained no reference to the second floor of 31

   Lafayette Avenue, Hempstead, New York.

          61.     The Nassau County Police Officers and/or Nassau County District Attorney’s

   Office Investigators arrested two individuals on May 13, 2010.

          62.     Stephanie Swann was arrested by Nassau County Police Officers and/or Nassau

   County District Attorney’s Office Investigators at 31 Lafayette Avenue, Hempstead, New York

   on May 13, 2010.

          63.     Stephanie Swann resided on the first floor of 31 Lafayette Avenue, Hempstead,

   New York.

          64.     Reginald Lecator was arrested by Nassau County Police Officers and/or Nassau

   County District Attorney’s Office Investigators at 31 Lafayette Avenue, Hempstead, New York

   on May 13, 2010.

          65.     Reginald Lecator resided on the first floor of 31 Lafayette Avenue, Hempstead,

   New York.

          66.     No individual residing on the second floor of 31 Lafayette Avenue, Hempstead,

   New York was arrested on May 13, 2010.

          67.     The warrant executed by the Nassau County Police Department and/or Nassau

   County District Attorney’s Office Investigators on 31 Lafayette Avenue, Hempstead, New York

   was pursuant to an investigation involving Stephanie Swann and/or Reginald Lecator.

          68.     Hearing the crashing in of doors, DAVIS fled to the safety of a closet located in

   her residence on the second floor of 31 Lafayette Avenue, Hempstead, New York.

          69.     While raiding the first floor residence, the Police intentionally entered the

   residence of the claimant on the second floor without just cause or authority to do so.



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          70.     While raiding the first floor residence, the Police, with reckless disregard, entered

   the residence of the claimant on the second floor without just cause or authority to do so.

          71.     After entering the second floor, the Defendant(s) shot DAVIS.

          72.     DAVIS was shot while she was still hiding in the closet.

          73.     Immediately after the shooting, representatives of the Nassau County Police

   Department and/or the Nassau County District Attorney’s Office began to take affirmative steps

   to cover up the wrongful shooting.

          74.     With absolutely no justification to do so, members of the Nassau County Police

   Department and/or the Nassau County District Attorney’s Office began a course of conduct to

   protect the shooter from any criminal liability and/or culpability.

          75.     Upon information and belief, the Nassau County Police Department employed the

   use of the “Shooting Team” in order to justify the shooting of Davis.

          76.     Upon information and belief, the “Shooting Team” is deployed anytime there is a

   civilian shooting at the hands of a Nassau County Police Officer.

          77.     Upon information and belief, the “Shooting Team” is deployed anytime there is a

   civilian shooting by any Nassau County Law Enforcement Personnel.

          78.     Upon information and belief, the “Shooting Team” is made up of approximately

   five individuals who are tasked with the responsibility of determining administratively whether

   there was a “good shoot.”

          79.     Upon information and belief, there is a prescribed timeframe in which the

   “shooting team” must make its determination.

          80.     Upon information and belief, the “Shooting Team” has to make its determination

   within 48 hours of the shooting.



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           81.    Upon information and belief, the “Shooting Team” has been a rubber stamp of

   approval for members of the Nassau County Police Department personnel who have shot

   civilians.

           82.    Upon information and belief, the “Shooting Team” has been a rubber stamp of

   approval for Nassau County Law Enforcement personnel who have shot civilians.

           83.    The “Shooting Team” has created an atmosphere in which members of the Nassau

   County Police Department and/or Nassau County Law Enforcement personnel feel they can act

   with utter impunity.

           84.    The policies and/or practices and/or procedures of the “Shooting Team” was the

   proximate cause and/or in conjunction with other policies and/or practices and/or procedures of

   Nassau County which was the proximate cause of the shooting of DAVIS.

           85.    The Nassau County Internal Affairs Unit is charged with the duty of reviewing

   the actions of Nassau County Police Officers to determine administratively whether an individual

   Police Officer has committed any wrongdoing.

           86.    Upon information and belief, the Nassau County Internal Affairs Unit has been a

   rubber stamp of approval for members of the Nassau County Police Department personnel who

   have shot civilians.

           87.    Upon information and belief, the Nassau County Internal Affairs Unit has been a

   rubber stamp of approval for members of the Nassau County Law Enforcement personnel who

   have shot civilians.

           88.    The Nassau County District Attorney’s Office is charged with the duty of

   prosecuting crimes in the jurisdictional limits of the County of Nassau.

           89.    Upon information and belief, within the purview of the Nassau County District



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   Attorney’s Office’s jurisdiction is to determine whether Nassau County Police Officers have

   wrongfully utilized deadly physical force in the execution of their job duties as Nassau County

   Police Officers.

           90.    Upon information and belief, within the purview of the Nassau County District

   Attorney’s Office Special Investigations Unit’s jurisdiction is to determine whether Nassau

   County Police Officers have wrongfully utilized deadly physical force in the execution of their

   job duties as Nassau County Police Officers.

           91.    Upon information and belief, the Nassau County District Attorney’s Office has

   been a rubber stamp of approval for members of the Nassau County Police Department personnel

   who have shot civilians.

           92.    Upon information and belief, the Nassau County District Attorney’s Office has

   been a rubber stamp of approval for Nassau County Law Enforcement personnel who have shot

   civilians.

           93.    The Internal Affairs Unit of the Nassau County Police Department has created an

   atmosphere in which members of the Nassau County Police Department and/or Nassau County

   Law Enforcement personnel feel they can act with utter impunity.

           94.    The policies and/or practices and/or procedures of the Internal Affairs Unit of the

   Nassau County Police Department was the proximate cause and/or in conjunction with other

   policies and/or practices and/or procedures of Nassau County which was the proximate cause of

   the shooting of DAVIS.

           95.    The Nassau County District Attorney’s Office has created an atmosphere in which

   members of the Nassau County Police Department and/or Nassau County Law Enforcement

   personnel feel they can act with utter impunity.



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          96.      The policies and/or practices and/or procedures of the Nassau County District

   Attorney’s Office was the proximate cause and/or in conjunction with other policies and/or

   practices and/or procedures of Nassau County which was the proximate cause of the shooting of

   DAVIS.

          97.      Upon information and belief, the Nassau County Police Department has set

   procedures which allow a Police Officer a prescribed amount of time before he/she has to answer

   any questions regarding the discharge of their firearm in a use of deadly force.

          98.      Upon information and belief, the Nassau County District Attorney’s Office has set

   procedures which allow a Police Officer a prescribed amount of time before he/she has to answer

   any questions regarding the discharge of their firearm in a use of deadly force.

          99.      Upon information and belief, the Nassau County Police Department has set

   procedures which allow a Nassau County Law Enforcement Officer a prescribed amount of time

   before he/she has to answer any questions regarding the discharge of their firearm in a use of

   deadly force.

          100.     Upon information and belief, the Nassau County District Attorney’s Office has set

   procedures which allow a Nassau County Law Enforcement Officer a prescribed amount of time

   before he/she has to answer any questions regarding the discharge of their firearm in a use of

   deadly force.

          101.     The prescribed amount of time in which a Nassau County Police Officer and/or

   Nassau County Law Enforcement Officer is permitted to remain silent is referred to a “cooling

   off period.”

          102.     The “cooling off period” is specifically designed so the Nassau County Police

   Officer and/or the Nassau County Law Enforcement Officer may tailor his/her story to the



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   factual evidence gathered by other members of the Nassau County Police Department and/or

   Nassau County District Attorney’s Office.

          103.    The “cooling off period” has created an atmosphere in which members of the

   Nassau County Police Department and/or Nassau County Law Enforcement personnel feel they

   can act with utter impunity.

          104.    The “cooling off period” was the proximate cause and/or in conjunction with

   other policies and/or practices and/or procedures of Nassau County was the proximate cause of

   the shooting of DAVIS.

          105.    Nassau County has a de facto policy of indemnifying Nassau County Police

   Officers against allegations of the use of excessive force.

          106.    Nassau County has a de facto policy of indemnifying Nassau County Police

   Officers against allegations of the wrongful use of deadly force.

          107.    Nassau County has a de facto practice of indemnifying Nassau County Police

   Officers against allegations of the use of excessive force.

          108.    Nassau County has a de facto practice of indemnifying Nassau County Police

   Officers against allegations of the wrongful use of deadly force.

          109.    Nassau County has a de facto procedure of indemnifying Nassau County Police

   Officers against allegations of the use of excessive force.

          110.    Nassau County has a de facto procedure of indemnifying Nassau County Police

   Officers against allegations of the wrongful use of deadly force.

          111.    Nassau County’s de facto policy and/or practice and/or procedure of indemnifying

   Nassau County Police officers against allegations of the use of excessive force has created an

   atmosphere in which members of the Nassau County Police Department feel they can act with



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   utter impunity.

          112.       Nassau County’s de facto policy and/or practice and/or procedure of indemnifying

   Nassau County Police officers against allegations of the wrongful use of deadly force has created

   an atmosphere in which members of the Nassau County Police Department feel they can act with

   utter impunity.

          113.       Nassau County has a de facto policy of indemnifying Nassau County Law

   Enforcement Personnel against allegations of the use of excessive force.

          114.       Nassau County has a de facto policy of indemnifying Nassau County Law

   Enforcement Personnel against allegations of the wrongful use of deadly force.

          115.       Nassau County has a de facto practice of indemnifying Nassau County Law

   Enforcement Personnel against allegations of the use of excessive force.

          116.       Nassau County has a de facto practice of indemnifying Nassau County Law

   Enforcement Personnel against allegations of the wrongful use of deadly force.

          117.       Nassau County has a de facto procedure of indemnifying Nassau County Law

   Enforcement Personnel against allegations of the use of excessive force.

          118.       Nassau County has a de facto procedure of indemnifying Nassau County Law

   Enforcement Personnel against allegations of the wrongful use of deadly force.

          119.       Nassau County’s de facto policy and/or practice and/or procedure of indemnifying

   Nassau County Law Enforcement Personnel against allegations of the use of excessive force has

   created an atmosphere in which members of the Nassau County Law Enforcement Personnel feel

   they can act with utter impunity.

          120.       Nassau County’s de facto policy and/or practice and/or procedure of indemnifying

   Nassau County Law Enforcement Personnel against allegations of wrongful use of deadly force



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   has created an atmosphere in which members of the Nassau County Law Enforcement Personnel

   feel they can act with utter impunity.

          121.    The indemnification policies and/or practices and/or procedures of the County of

   Nassau were the proximate cause and/or in conjunction with other policies and/or practices

   and/or procedures of Nassau County which were the proximate cause of the shooting of DAVIS.

          122.    CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O.

   DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE

   #2, DAOI DOE#3, DAOI DOE #4, and/or DAOI DOE #5 drew their firearms without just cause.

          123.    CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O.

   DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE

   #2, DAOI DOE #3, DAOI DOE #4, and/or DAOI DOE #5 pointed their respective firearms at

   DAVIS without just cause.

          124.    Upon information and belief, CAPOBIANCO, HERMANN, CAMPBELL,

   BLANKENSHIP, GRELLA, P.O. DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O.

   DOE #5, DAOI DOE #1, DAOI DOE #2, DAOI DOE #3, DAOI DOE #4, and/or DAOI DOE #5

   placed their respective fingers in the trigger well of their respective firearms while pointing same

   at DAVIS.

          125.    Upon information and belief, CAPOBIANCO, HERMANN, CAMPBELL,

   BLANKENSHIP, GRELLA, P.O. DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O.

   DOE #5, DAOI DOE #1, DAOI DOE #2, DAOI DOE #3, DAOI DOE #4, and/or DAOI DOE #5

   shouted threats of potential violent action at DAVIS while they placed their respective fingers in

   the trigger well of their respective firearms while pointing same at DAVIS.

          126.    Upon information and belief, CAPOBIANCO, HERMANN, CAMPBELL,



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   BLANKENSHIP, GRELLA, P.O. DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O.

   DOE #5, DAOI DOE #1, DAOI DOE #2, DAOI DOE #3, DAOI DOE #4, and/or DAOI DOE #5

   shot DAVIS after shouting threats of potential violent action at DAVIS while they placed their

   respective fingers in the trigger well of their respective firearms while pointing same at DAVIS.

          127.    Neither the County of Nassau nor its employees had any reason to believe DAVIS

   was armed or dangerous when they shot her.

          128.    After being shot on May 13, 2010, DAVIS was rushed to the Nassau County

   Medical Center where she was treated for her injuries resulting from the gun shot wound.

          129.    While being treated for her injuries, the county agents and/or employees

   attempted to question the claimant in her weakened condition without the benefit of an attorney

   for the sole purpose of justifying the shooter’s use of force.

          130.    Upon information and belief, no member of the Nassau County Police

   Department has been admonished in any way for the shooting of DAVIS.

          131.    Upon information and belief, no member of the Nassau County Law Enforcement

   Personnel has been admonished in any way for the shooting of DAVIS.

          132.    Upon information and belief, no member of the Nassau County Police

   Department has been reprimanded in any way for the shooting of DAVIS.

          133.    Upon information and belief, no member of the Nassau County Law Enforcement

   Personnel has been reprimanded in any way for the shooting of DAVIS.

          134.    Upon information and belief, no member of the Nassau County Police

   Department has been punished in any way for the shooting of DAVIS.

          135.    Upon information and belief, no member of the Nassau County Law Enforcement

   Personnel has been punished in any way for the shooting of DAVIS.



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                               AS AND FOR PLAINTIFF’S
              FIRST CLAIM FOR RELIEF FOR EXCESSIVE FORCE (1983)
   AGAINST CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O.
    DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI
                 DOE #2, DAOI DOE #3, DAOI DOE #4, and DAOI DOE #5

           136.   Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

           137.   Defendant(s) used excessive force on the person of DAVIS on or about May 13,

   2010.

           138.   Defendant(s), with willful and malicious intent, shot DAVIS.

           139.   The actions of the Defendant(s) were intentionally, recklessly and/or negligently

   performed to intimidate and did cause physical and emotional distress to DAVIS.

           140.   The excessive force used by the Defendants was conducted under color of state

   law within the purview of 42 U.S.C. § 1983, and Plaintiff has suffered damages therefrom.

           141.   The excessive force used in the arrest was an abuse of power, constituted a seizure

   within the meaning of the Fourth Amendment and deprived Plaintiff of her liberty. The seizure

   and deprivation of her liberty was unreasonable and without due process of law, in violation of

   the Fourth and Fourteenth Amendments of the United States Constitution.

           142.   Defendant(s) also took active steps toward permitting and encouraging several

   Defendants to threaten, provoke, instill fear and use force against Plaintiff.

           143.   As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great pain and mental



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   anguish, all to Plaintiff’s damage in a sum to be provided at trial but not less than ONE

   MILLION DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.


                                  AS AND FOR PLAINTIFF’S
         SECOND CLAIM FOR RELIEF FOR ASSAULT AGAINST NASSAU COUNTY,
       CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O. DOE #1,
       P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE #2,
                        DAOI DOE #3, DAOI DOE #4, and DAOI DOE #5


           144.   Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

           145.   The aforestated actions of the Defendant(s) amounted to an assault of DAVIS.

   .       146.    The actions of the Defendant(s) placed DAVIS in apprehension of imminent

   harmful contact.

           147.    The actions of the Defendant(s) placed DAVIS in apprehension of imminent

   offensive contact.

           148.   From the vantage point of DAVIS, the Defendant(s) had the real ability to bring

   about harmful contact while they pointed their firearms at her.

           149.   From the vantage point of DAVIS, the Defendant(s) had the apparent ability to

   bring about harmful contact while they pointed their firearms at her.

           150.   The actions of the Defendant(s) were menacing to DAVIS.

           151.   The actions, words and gestures of the Defendant(s) caused DAVIS to believe that

   harmful bodily contact was about to occur.

           152.   The actions, words and gestures of the Defendant(s) caused DAVIS to believe that

   offensive bodily contact was about to occur.



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          153.   After the Defendant(s) shot DAVIS, they continued to keep their firearms pointed

   at DAVIS.

          154.   After being shot, DAVIS was in continued apprehension of imminent bodily harm

   from the Defendant(s).

          155.   When the Defendant(s) depressed the trigger on his/her/their firearm(s),

   he/she/they did so voluntarily.

          156.   When the Defendant(s) depressed the trigger on his/her/their firearm(s),

   he/she/they did so knowing the result would be that DAVIS would be struck with a bullet(s).

          157.   DAVIS did not consent to the harmful and/or offensive apprehension of imminent

   harmful and/or offensive touching by the Defendant(s).

          158.   As a result of the aforementioned actions of the Defendant(s), Plaintiff suffered

   physical and emotional injuries.

          159.   The Defendant(s)’ actions were intentionally and/or maliciously and/or recklessly

   performed to intimidate and did cause physical pain and emotional distress to DAVIS.

          160.   At all times mentioned, the Defendant(s) were acting within the scope of their

   employment as Police Officers and/or Investigators for the District Attorney’s Office.

          161.   At all times mentioned, all Defendant Police Officers and Investigators of the

   District Attorney’s Office were employees of NASSAU and were acting within the scope of their

   employment.

          162.   At all times mentioned, the officers and employees were employed by the

   Defendant NASSAU.

          163.   The actions of the officers and employees, which were performed within their

   scope of employment, created liability against the Defendant NASSAU under New York State



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   Law.

          164.     Consequently, the Defendant NASSAU is liable under respondeat superior for the

   actions of its employees.

          165.     As a proximate result of Defendants’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great mental anguish,

   all to Plaintiff’s damage in an amount to be provided at trial but no less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.



                               AS AND FOR PLAINTIFF’S
       THIRD CLAIM FOR RELIEF FOR BATTERY AGAINST NASSAU COUNTY,
    CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O. DOE #1,
    P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE #2,
                     DAOI DOE #3, DAOI DOE #4, and DAOI DOE #5

          166.     Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

           167.    The Defendant(s) intentionally shot DAVIS.

          168.     The Defendant(s) recklessly shot DAVIS.

          169.     DAVIS did not consent to the harmful and/or offensive touching by the

   Defendant(s).

          170.     As a result of the aforementioned actions of the Defendant(s), Plaintiff suffered

   physical and emotional injuries.

          171.     The Defendant(s)’ actions were intentionally and/or maliciously and/or recklessly

   performed to intimidate and did cause physical pain and emotional distress to DAVIS.



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          172.   At all times mentioned, the Defendant(s) were acting within the scope of their

   employment as Police Officers and/or Investigators for the District Attorney’s Office.

          173.   At all times mentioned, all Defendant Police Officers and Investigators of the

   District Attorney’s Office were employees of NASSAU and were acting within the scope of their

   employment.

          174.   At all times mentioned, the officers and employees were employed by the

   Defendant NASSAU.

          175.   The actions of the officers and employees, which were performed within their

   scope of employment, created liability against the Defendant NASSAU under New York State

   Law.

          176.   Consequently, the Defendant NASSAU is liable under respondeat superior for the

   actions of its employees.

          177.   As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great mental anguish,

   all to Plaintiff’s damage in an amount to be provided at trial but no less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.


                               AS AND FOR PLAINTIFF’S
    FOURTH CLAIM FOR RELIEF FOR DEFAMATION AGAINST NASSAU COUNTY,
    CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O. DOE #1,
    P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE #2,
    DAOI DOE #3, DAOI DOE #4, DAOI DOE #5, ADA DOE #1, ADA DOE #2, ADA DOE
                           #3, ADA DOE #4, and ADA DOE #5

          178.   Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as



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   if more fully set forth at length herein.

           179.    Upon information and belief, after shooting DAVIS, the Defendant(s) released

   information to the press indicating that the shooting was caused by the actions of DAVIS.

           180.    Upon information and belief, after shooting DAVIS, the Defendant(s) released an

   official press release which indicated that the shooting was caused by the actions of DAVIS.

           181.    Upon information and belief, after shooting DAVIS, a representative(s) of the

   Defendant(s) released information to the press indicating that the shooting was caused by the

   actions of DAVIS.

           182.    Upon information and belief, after shooting DAVIS, a representative(s) of the

   Defendant(s) released an official press release which indicated that the shooting was caused by

   the actions of DAVIS.

           183.    The information which was released to the press was not true.

           184.    The information which was released in the press release(s) was not true.

           185.    At the time the information was released to the press, the Defendant(s) and or

   their representative(s) knew said information to be false.

           186.    At the time the information contained in the press release(s) was released to the

   press, the Defendant(s) and or their representative(s) knew said information to be false.

           187.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) has exposed DAVIS to public contempt.

           188.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) has exposed DAVIS to public ridicule.

           189.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) has exposed DAVIS to public disgrace.



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          190.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) has induced an evil opinion of DAVIS in the minds of right thinking persons.

          191.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) has deprived DAVIS of her friendly intercourse in society.

          192.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) constitutes an accusation of the commission of a crime and/or violation by DAVIS

   and as such is Defamation per se.

          193.    Upon information and belief, the defamation was communicated both orally and

   in writing.

          194.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) constitutes libel.

          195.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) constitutes libel per se.

          196.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) constitutes slander.

          197.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) constitutes slander per se.

          198.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) was factual in nature.

          199.    The false information published by the Defendant(s) or representative(s) of the

   Defendant(s) was regarding DAVIS.

          200.    The false information published by the Defendant(s) or representatives of the

   Defendant(s) was published to a third party.



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          201.    The factual information which was published by the Defendant(s) or

   representative(s) of the Defendant(s) was false.

          202.    The Defendant(s) and/or representative(s) of the Defendant(s) knew or should

   have known such factual information was false at the time it was published.

          203.   At all times mentioned, the Defendant(s) were acting within the scope of their

   employment as Police Officers and/or Investigators for the District Attorney’s Office.

          204.   At all times mentioned, all Defendant Police Officers and Investigators of the

   District Attorney’s Office were employees of NASSAU, and were acting within the scope of

   their employment.

          205.   At all times mentioned, the officers and employees were employed by the

   Defendant NASSAU.

          206.   The actions of the officers and employees, which were performed within their

   scope of employment, created liability against the Defendant NASSAU under New York State

   Law.

          207.   Consequently, the Defendant NASSAU is liable under respondeat superior for the

   actions of its employees.

          208.   As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great mental anguish,

   all to Plaintiff’s damage in an amount to be provided at trial but no less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.


                            AS AND FOR PLAINTIFF’S
          FIFTH CLAIM FOR RELIEF FOR VIOLATIONS OF DAVIS’ FOURTH and
            FOURTEENTH AMENDMENT RIGHTS AGAINST NASSAU COUNTY,


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    CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O. DOE #1,
    P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE #2,
    DAOI DOE #3, DAOI DOE #4, DAOI DOE #5, ADA DOE #1, ADA DOE #2, ADA DOE
                           #3, ADA DOE #4, and ADA DOE #5

          209.    Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

          210.    The Defendant(s) did not possess a valid search warrant to enter the premises of

   DAVIS on the second floor of 31 Lafayette Avenue, Hempstead, New York on May 13, 2010.

          211.    The Defendant(s)’ entry into the dwelling of DAVIS on the second floor of 31

   Lafayette Avenue, Hempstead, New York was in direct violation of her Fourth Amendment right

   to be free from illegal searches and seizures.

          212.    The Defendant(s) knew and/or should have known that they had no legal right to

   present on the second floor of 31 Lafayette Avenue, Hempstead, New York on May 13, 2010.

          213.    The Defendant(s) knew and/or should have known that they had no legal right to

   present on the second floor of 31 Lafayette Avenue on May 13, 2010 and that they had no right

   to open any closet on the second floor of 31 Lafayette Avenue, Hempstead, New York.

          214.    The Defendant(s) knew and/or should have known that they had no legal right to

   present on the second floor of 31 Lafayette Avenue on May 13, 2010 and that they had no right

   to point a firearm at DAVIS.

          215.    The actions of the Defendants were intentionally, recklessly and/or negligently

   done to intimidate, and did cause physical and emotional distress to DAVIS.

          216.    The Search and Seizure was conducted under the color of state law within the

   purview of 42 U.S.C. § 1983, and Plaintiff has suffered damages therefrom.

          217.    The excessive force used in the arrest was an abuse of power, constituted a seizure


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   within the meaning of the Fourth Amendment and deprived Plaintiff of her liberty. The seizure

   and deprivation of her liberty was unreasonable and without due process of law, in violation of

   the Fourth and Fourteenth Amendments of the United States Constitution.

          218.    As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great mental anguish,

   all to Plaintiff’s damage in an amount to be provided at trial but no less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.




                               AS AND FOR PLAINTIFF’S
   SIXTH CLAIM FOR RELIEF FOR FALSE ARREST/FALSE IMPRISONMENT (1983)
   AGAINST CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O.
    DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI
                 DOE #2, DAOI DOE #3, DAOI DOE #4, and DAOI DOE #5


          219.     Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

          220.    The detention of Plaintiff by the Defendant(s) was conducted under color of state

   law within the purview of 42 U.S.C. § 1983; and Plaintiff has suffered damages therefrom.

          221.    The detention of Plaintiff was without probable cause, without an arrest warrant,

   was an abuse of power, constituted a seizure within the meaning of the Fourth Amendment and

   deprived Plaintiff of her liberty.

          222.    The seizure and deprivation of Plaintiff’s liberty was unreasonable and without

   due process of law, in violation of the Fourth and Fourteenth Amendments of the United States



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   Constitution.

          223.     The actions of the Defendant(s) were intentionally, recklessly and/or negligently

   done to intimidate, and did cause emotional distress to Plaintiff.

          224.     As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great mental anguish,

   all to Plaintiff’s damage in an amount to be provided at trial but no less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.


                            AS AND FOR PLAINTIFF’S
        SEVENTH CLAIM FOR RELIEF FOR FALSE ARREST/IMPRISONMENT
   (PENDENT) AGAINST NASSAU COUNTY, CAPOBIANCO, HERMANN, CAMPBELL,
   BLANKENSHIP, GRELLA, P.O. DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O.
    DOE #5, DAOI DOE #1, DAOI DOE #2, DAOI DOE #3, DAOI DOE #4, and DAOI DOE
                                       #5

          225.     Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

          226.     The Officers without an arrest warrant and without probable cause detained

   DAVIS against her will.

          227.     DAVIS was conscious of her confinement and did not consent to this

   confinement.

          228.     DAVIS was detained without any legal justification to do so in that she had not

   committed any crime, nor was her confinement by Defendant(s) otherwise privileged.

          229.     Because of Defendant(s)’ lack of reasonable suspicion, probable cause, an arrest

   warrant, or any other valid legal reason to effectuate the detention of DAVIS, her detention and



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   the actions of the Defendant(s) amounted to an unlawful arrest and imprisonment.

          230.    At all times mentioned, all officers and employees of NASSAU were acting

   within the scope of their employment.

          231.    At all times mentioned, the officers and employees were employed by the

   Defendant NASSAU.

          232.    The actions of the officers and employees, which were performed within their

   scope of employment, created liability against the Defendant NASSAU under New York State

   Law.

          233.    Consequently, the Defendant NASSAU is liable under respondeat superior for the

   actions of its employees.

          234.    As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great mental anguish,

   all to Plaintiff’s damage in an amount to be provided at trial but no less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.


                              AS AND FOR PLAINTIFF’S
        EIGHTH CLAIM FOR RELIEF FOR VIOLATIONS OF DAVIS’ SUBSTANTIVE
       DUE PROCESS OF RIGHTS AGAINST NASSAU COUNTY, CAPOBIANCO,
   HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O. DOE #1, P.O. DOE #2, P.O.
   DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE #2, DAOI DOE #3, DAOI
    DOE #4, DAOI DOE #5, ADA DOE #1, ADA DOE #2, ADA DOE #3, ADA DOE #4, and
                                      ADA DOE #5


          235.    Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.



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           236.    Upon information and belief, the Defendant(s) provided the Court with false

   and/or exaggerated information in order to obtain the warrant for entry and search of 31

   Lafayette Avenue, Hempstead, New York.

           237.    Upon information and belief, the Defendant(s) intentionally miscommunicated the

   content of the search warrant to the Defendant(s) who were to execute it, overstating the area

   which was to be legally searched.

          238.     Upon information and belief, the Defendant(s) performed these acts intentionally

   and/or in utter disregard for the rights of the individuals residing on the second floor of 31

   Lafayette Avenue, Hempstead, New York.

          239.    As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

   was greatly physically injured, humiliated, injured in her reputation, caused to incur attorneys’

   fees, associated legal expenses and other special damages, and has suffered great mental anguish,

   all to Plaintiff’s damage in an amount to be provided at trial but no less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.



                               AS AND FOR PLAINTIFF’S
           NINTH CLAIM FOR RELIEF FOR NEGLIGENCE AS AGAINST NASSAU
   COUNTY, CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O.
    DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI
     DOE #2, DAOI DOE #3, DAOI DOE #4, DAOI DOE #5, ADA DOE #1, ADA DOE #2,
                     ADA DOE #3, ADA DOE #4, and ADA DOE #5

          240.    Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

          241.    Defendant(s) had a duty to exercise due care to the Plaintiff and the other

   individuals located at 31 Lafayette Avenue, Hempstead, New York.


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          242.     Defendant(s) breached this duty of care through their negligent handling and use

   of their firearms.

          243.     The Defendant(s)’ breach of their duty to exercise reasonable caution in the use

   and handling of their firearms proximately caused the Plaintiff to be struck with a bullet

   discharged from Defendant(s)’ firearm(s).

          244.     Plaintiff sustained physical and mental damage as a result of being shot by

   Defendant(s).

          245.     As a proximate result of Defendant(s)’ negligence, Plaintiff was greatly physically

   injured, humiliated, injured in her reputation, caused to incur attorneys’ fees, associated legal

   expenses and other special damages, and has suffered great mental anguish, all to Plaintiff’s

   damage in an amount to be provided at trial but no less than ONE MILLION DOLLARS

   ($1,000,000.00), plus punitive damages and attorneys’ fees.

                           AS AND FOR PLAINTIFF’S
     TENTH CLAIM FOR RELIEF FOR NEGLIGENT HIRING AND SUPERVISION
        AGAINST NASSAU COUNTY, CAPOBIANCO, HERMANN, CAMPBELL,
   BLANKENSHIP, GRELLA, P.O. DOE #1, P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O.
    DOE #5, DAOI DOE #1, DAOI DOE #2, DAOI DOE #3, DAOI DOE #4, DAOI DOE #5,
        ADA DOE #1, ADA DOE #2, ADA DOE #3, ADA DOE #4, and ADA DOE#5

          246.     Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as

   if more fully set forth at length herein.

          247.     Upon information and belief, it was the custom, policy and practice of

   Defendant(s) to hire certain officers, including the Police Officer Defendants, without

   conducting the appropriate background checks, investigations and psychological evaluations.

          248.     Upon information and belief, it was the custom, policy and practice of NASSAU

   to conduct inadequate investigations of officer candidates, as was done with the Police Officer


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   Defendant(s).

          249.     Upon information and belief, it was the custom, policy and practice of NASSAU

   to inadequately supervise the actions and conduct of officers, including the Defendant Police

   Officer(s).

          250.     Upon information and belief, it was the custom, policy and practice of NASSAU

   to continue to employ police officers, including Defendant Police Officer(s), after it is known

   that such officer(s) consistently violated the constitutional rights of persons such as Plaintiff.

          251.     These customs, policies and practices were the moving force, proximate cause, or

   affirmative link behind the conduct causing Plaintiff’s injuries.

          252.     NASSAU is therefore liable for violations of Plaintiff’s constitutional rights as

   caused by Defendant(s) as described in more detail in the foregoing paragraphs; and Plaintiff has

   suffered damages therefrom.

          253.     As a proximate result of Defendant(s)’ customs, policies and practices for

   negligent hiring, improper supervision and improper retention of officers, Plaintiff was greatly

   physically injured, humiliated, injured in her reputation, caused to incur attorneys’ fees,

   associated legal expenses and other special damages, and has suffered great mental anguish, all

   to Plaintiff’s damage in a sum to be provided at trial but not less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                               AS AND FOR PLAINTIFF’S
          ELEVENTH CLAIM FOR RELIEF FOR FAILURE TO INTERVENE AGAINST
    CAPOBIANCO, HERMANN, CAMPBELL, BLANKENSHIP, GRELLA, P.O. DOE #1,
    P.O. DOE #2, P.O. DOE #3, P.O. DOE #4, P.O. DOE #5, DAOI DOE #1, DAOI DOE #2,
                    DAOI DOE #3, DAOI DOE #4, and DAOI DOE #5

          254.     Plaintiff repeats and realleges each and every allegation contained in those

   paragraphs of the complaint marked and numbered previously with the same force and effect as



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   if more fully set forth at length herein.

          255.    The Defendant(s) battered and assaulted the Plaintiff in direct violation of her

   Constitutional Rights.

          256.    The Defendant(s) observed other members of the Nassau County Police

   Department violate the Constitutional Rights of the Plaintiff and failed to prevent the obvious

   violations.

          257.    The Defendant(s) failed to perform their sworn duty as Police Officers to prevent

   crimes in their presence. The Defendant(s)’ failure to act was a direct result of a culture that

   exists in the Nassau County Police Department to condone, overlook and/or ignore excessive

   force committed by members of the Nassau County Police Department against civilians.

          258.    Defendant(s) is/are therefore liable for violations of Plaintiff’s constitutional rights

   as caused by Defendants as described in more detail in the foregoing paragraphs; and DAVIS has

   suffered damages therefrom.

          259.    As a proximate result of Defendant(s)’ actions/inaction, Plaintiff was greatly

   physically injured, humiliated, injured in her reputation, caused to incur attorneys’ fees,

   associated legal expenses and other special damages, and has suffered great mental anguish, all

   to Plaintiff’s damage in a sum to be provided at trial but not less than ONE MILLION

   DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                                         PRAYER FOR RELIEF

          WHEREFORE, plaintiff demands the following relief:

          A.     Under the First Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS plus punitive damages and attorneys’ fees.

          B.     Under the Second Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS plus punitive damages and attorneys’ fees.



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          C.     Under the Third Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS plus punitive damages and attorneys’ fees.

          D.     Under the Fourth Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS plus punitive damages and attorneys’ fees.

          E.     Under the Fifth Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS plus punitive damages and attorneys’ fees.

          F.     Under the Sixth Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS plus punitive damages and attorneys’ fees.

          G.     Under the Seventh Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS plus punitive damages and attorneys’ fees.

          H.     Under the Eighth Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS, plus punitive damages and attorneys’ fees.

          I.     Under the Ninth Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS, plus punitive damages and attorneys’ fees.

          I.     Under the Tenth Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS, plus punitive damages and attorneys’ fees.

          I.     Under the Eleventh Claim for Relief, in the amount of ONE MILLION
   ($1,000,000.00) DOLLARS, plus punitive damages and attorneys’ fees.

   Dated: Lake Success, New York
          December 12, 2011
                                       Respectfully Submitted,

                                       FRIEDMAN HARFENIST KRAUT &
                                       PERLSTEIN, LLP
                                       Attorneys for the Plaintiff



                                   By: ___________________________________
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